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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF LOUISIANA


 IN RE: BOBBY SCOTT THOMPSON                            CASE NO. 16-11600; SEC B
                                                        CHAPTER 13

                                        CONSENT ORDER

        Considering the hearing scheduled for January 10, 2018, on the Motion for Relief (p.51)

 filed on behalf of BANK OF AMERICA, N.A. ("Creditor") and the agreement between parties:

        IT IS HEREBY ORDERED that BOBBY SCOTT THOMPSON ("Debtor"), shall pay to

 Creditor, $9,074.74, which represents the September 2017 through and including December 2017

 post petition payments in the amount of $2,134.09 each, less unapplied funds of $192.62, and

 attorney and fees and costs of $731.00, by paying in CERTIFIED FUNDS ONLY, five (5) monthly

 installments in the amount of $1,512.46, and one (1) monthly installment in the amount of

 $1,512.44, in addition to the regular monthly mortgage payments, beginning January 1, 2018

 through and including June 1, 2018.

        IT IS FURTHER ORDERED that the Debtor shall thereafter pay the regular monthly

 mortgage payments on a timely basis in accordance with the note and mortgage beginning with the

 January 01, 2018 payment. The regular monthly mortgage payments are subject to change due to

 the escrow provisions of the note and mortgage.

        IT IS FURTHER ORDERED that in the event the Debtor fails, to make all payments as

 required by this consent order or fails to pay any regular monthly mortgage payments thereafter or

 fails to pay said attorney's fees, all in accordance with this consent order, the Creditor shall be

 entitled to ex parte relief from the automatic stay, after a fourteen (14) day notice to Debtor and

 Debtor’s Counsel, and upon presentation of an affidavit of an officer or employee of Creditor, or its
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 successors, establishing such default 30 days thereafter. The ex parte relief order will allow

 Creditor to foreclose immediately on the property more fully described in the mortgage filed in the

 record hereof, and which property bears the municipal address of 2467 Royal St, New Orleans,

 Louisiana 70117. This order shall survive one (1) year after entry of this order or until this case is

 otherwise dismissed.

         IT IS FURTHER ORDERED that movant shall serve this order on the required parties

 who will not receive notice through the ECF system pursuant to the FRBP and the LBR’s and

 file a certificate of service to that effect within three days.

         New Orleans, Louisiana, December 28, 2017.


                                                          ______________________________
                                                          Jerry A. Brown
                                                          U.S. Bankruptcy Judge




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